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                 EXHIBIT “1”
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   8
        Attorneys for Defendant
   9    QWorldstar, Inc.
  10
  11                        UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
  12
  13    JUKIN MEDIA, INC., a California             CASE NO.: 2:16-cv-6800-JFW(SSx)
        corporation
  14
                      Plaintiffs,
  15                                                [PROPOSED] ORDER GRANTING
                    v.                              DEFENDANT’S MOTION TO
  16                                                AMEND SCHEDULING ORDER
  17    QWORLDSTAR, INC., a California
        corporation, d/b/a Worldstar, Worldstar Hip
  18    Hop, Worldstar Candy; and DOES 1            Hon. John F. Walter
        through 10,                                 Magistrate Judge Suzanne H. Segal
  19
                                                    Date:        June 26, 2017
  20                 Defendants.                    Time:        1:30 p.m.
                                                    Location:    Courtroom 7A
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                                        [PROPOSED] ORDER
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   1          Upon a showing of good cause, the Motion of defendant QWorldstar, Inc.
   2    (“Defendant”) for an Order Amending the December 13, 2016 Scheduling Order
   3    (the “Motion”) is hereby GRANTED.
   4          The Court has considered the Motion, as well as the evidence and
   5    Memorandum of Points and Authorities submitted in support thereof, and any
   6    opposing papers, and it appears to the Court therefrom that good cause exists for the
   7    granting of Defendant’s Motion. The Court being fully advised and good and
   8    sufficient cause appearing therefore,
   9                                            ORDER
  10          IT IS HEREBY ORDERED that all dates set forth in the December 13,
  11    2016 Scheduling Order in this case are modified as follows:
  12                                                Current Date             New Date
  13    Last day to conduct Settlement                  5/2/17                7/31/17
  14    Conference
  15    Last day to file Joint Report re: results       5/9/17                 8/7/17
  16    of Settlement Conference
  17    Discovery cut-off                               7/24/17               10/23/17
  18    Last day for hearing motions                    8/7/17                11/6/17
  19    Submit Pre-Trial Conf. Order; File              8/24/17               12/6/17
  20    Motions in Limine; Memo of
  21    Contentions of Fact and Law; Pre-
  22    Trial Exhibit Stipulation; Summary of
  23    Witness Testimony and Time
  24    Estimates; File Status Report re
  25    Settlement; File Agreed Upon Set of
  26    Jury Instructions and Verdict Forms;
  27    File Joint Statement re Disputed
  28    Instructions, Verdicts, etc.
                                                   1
                                           [PROPOSED] ORDER
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   1
        Pre-Trial Conference; File Proposed           9/8/17               12/21/17
   2
        Voir Dire Qs and Agreed-to
   3
        Statement of Case
   4
        [Court trial] Hearing on Motions in             X
   5
        Limine
   6
        [Jury trial] Hearing on Motions in           9/15/17               12/28/17
   7
        Limine; Hearing on Disputed Jury
   8
        Instructions
   9
        Trial (jury) Estimated length: 3 days        9/26/17               1/22/18
  10
  11
        IT IS SO ORDERED.
  12
  13    Dated: ____________________, 2017          _____________________________
  14                                               Honorable John F. Walter
                                                   United States District Judge
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                                                 2
                                         [PROPOSED] ORDER
